               Case 2:97-cr-00026-DHB Document 628 Filed 07/06/15 Page 1 of 1
PROB:i5                                                                RepoftandOrderTerminatingProbation/
(Rev.l/921                                                                                  SupervisedRelease
                                                                              Prior to OriginalExpirationDate




                                     United StatesDistrict Court
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SammyLeeMccray


        On December6, 201 l, the abovenamedoffenderwasplacedon SupervisedReleasefor a period of60 months.
Mr. McCray hascomplied with the rules and regulationsof SupervisedReleaseand is no longer in need of Supervised
Releasesupervision. It is accordingly recommendedthat SammyLee Mccray be dischargedflom SupervisedRelease.


                                                           Respectfully
                                                                      submitted,




                                                           TravisB. Smith
                                                           U. S.ProbationOfficer



                                           ORDEROF THE COURT

             Pursuant
                   to theaboyerepofi,it is orderedthatthedefendant
                                                                 is discharged
                                                                             fiom Supervised
                                                                                           Release
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